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 6                                UNITED STATES DISTRICT COURT
 7                                        DISTRICT OF NEVADA
 8                                                 *****
 9   UNITED STATES OF AMERICA,                       )
                                                     ) 3:08-cr-00041-LRH-RAM
10                                  Plaintiff,       )
                                                     ) ORDER
11   vs.                                             )
                                                     )
12   MARIA SANCHEZ,                                  )
                                                     )
13                                  Defendant.       )
                                                     )
14
15          Before the court is Plaintiff’s Notice of Motion and Motion to Revoke Magistrate Court’s
16   Order to Release Defendant Maria Sanchez Pending Trial (#45). The Magistrate Judge’s order
17   regarding release was stayed (#46) pending consideration of the Government’s motion by this
18   court. On June 16, 2008, the court held a hearing on the Government’s motion to revoke. The
19   Defendant opposed the Government’s motion and the Government’s position is that it stood by
20   its motion and opposes the Magistrate’s order regarding release.
21          The court has reviewed the charges pending against the defendant, two of which carry a
22   maximum term of imprisonment of ten (10) years to life imprisonment. The court has also
23   considered the evidence that was presented to the Magistrate Judge.
24          The court has considered all of the factors required under 18 U.S.C. § 3142.
25   Notwithstanding the strong arguments presented by the defense, the court finds that the
26   Government’s evidence of the Defendant’s guilt is strong, that there is probable cause to believe
27   that the Defendant committed the offenses charged and that there is a serious risk that the
28   Defendant will flee if granted pretrial release. The court further finds that there are no conditions
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 1   or combination of conditions of release that would reasonably assure the appearance of the
 2   Defendant at trial.
 3          Good cause appearing, the Government’s motion (#45) is GRANTED, and
 4          IT IS ORDERED that the Defendant shall be detained pending trial.
 5          DATED this 17th day of June, 2008.
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                                                 LARRY R. HICKS
 9                                               UNITED STATES DISTRICT JUDGE
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